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                         UNITED STATES DISTRICT COURT
20                      CENTRAL DISTRICT OF CALIFORNIA
21
     YITZCHOK FRANKEL et al.,                             Case No.: 2:24-cv-04702
22
        Plaintiffs,                                       PLAINTIFFS’ STATEMENT OF
23                                                        UNCONTROVERTED FACTS
     v.                                                   AND CONCLUSIONS OF LAW IN
24   REGENTS OF THE UNIVERSITY                            SUPPORT OF MOTION FOR
                                                          PARTIAL SUMMARY
25   OF CALIFORNIA et al.,                                JUDGMENT
26       Defendants.                                      Judge: Hon. Mark C. Scarsi
                                                          Hearing: May 12, 2025, 9:00 a.m.
27                                                        Courtroom: 7C


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 1    Plaintiffs Yitzchok Frankel, Eden Shemuelian, Joshua Ghayoum, and
 2   Dr. Kamran Shamsa submit the following Statement of Uncontroverted
 3   Facts and Conclusions of Law pursuant to Fed. R. Civ. P. 56, Local Rule
 4   56-1, and the Honorable Mark C. Scarsi’s Standing Order for Civil Cases
 5   in support of their Motion for Partial Summary Judgment and
 6   Permanent Injunction.
 7
 8    I.    STATEMENT OF UNCONTROVERTED FACTS
 9
           Issue: Defendants violated the Free Exercise Clause.
10
                         Fact                         Supporting Evidence
11
                            Defendants and Their Roles
12
     1. Defendant Regents of the University of
13
        California is a public agency within the
14      meaning      of     Cal.   Gov’t    Code
15      § 7920.525(a) and is empowered under
        the California Constitution, Article IX,
16
        Section 9, to administer the University
17      of California, including the University of Dkt.107 ¶47 (Answer).
18      California, Los Angeles. The Board of
        Regents is the governing body for the
19
        University of California system and
20      under Article IX, Section 9, of the
21      California Constitution has full powers
        of organization and government.
22
     2. Defendant Dr. Michael V. Drake is the
23
        current President of the University of
24      California and has served in that Dkt.107 ¶¶48, 57
25      position since August 2020. As (Answer).
26      President, Drake oversees and is
        responsible for the operations of the
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1         entire University of California system,
           which includes UCLA, and sets
 2
           systemwide policy guidance.
 3
         3. Defendant Dr. Gene D. Block served as
 4          Chancellor of UCLA from August 2007
 5          until July 31, 2024. As Chancellor, Block
            was the highest-ranking university
 6                                                    Dkt.107 ¶49 (Answer).
            official at UCLA, including during the
 7          2023-2024 academic school year. Block’s
 8          duties included establishing campus
            policies, goals, and strategy.
 9
         4. Defendant Julio Frenk has served as
10
            Chancellor of UCLA since January 1,
11          2025. He is automatically substituted as
                                                       3d Rassbach Decl. Ex. 11
12          Defendant for the official-capacity
                                                       at 552 1; Fed. R. Civ. P.
13          claims against Defendant Block. As
                                                       25(d); Dkt.107 ¶49
            Chancellor, Frenk is the highest-
14                                                     (Answer).
            ranking university official at UCLA, and
15          his duties include establishing campus
16          policies, goals, and strategy.

17       5. Defendant Dr. Darnell Hunt is the
            current Executive Vice Chancellor and
18          Provost of UCLA and also served in that
19          role at all relevant times from
                                                    Dkt.107 ¶50 (Answer).
20          September 2022 through July 31, 2024.
            Hunt also served as UCLA’s Interim
21
            Chancellor from August 1, 2024 until
22          December 31, 2024.
23
24
25
     1  Each pincite to an exhibit in this Statement of Uncontroverted Facts
     is to the page number added to the bottom of each page of the exhibit
26   pursuant to L.R. 11-5.2, and not (as applicable) to the document’s original
27   page number.
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1   6. Defendant Michael J. Beck is the
        current Administrative Vice Chancellor
 2
        of UCLA and has served in that position
 3      since March 2016. During this time and
 4      until May 5, 2024, the UCLA Police
 5      Department reported to and took
                                                 Dkt.107 ¶51 (Answer);
        direction from him. Beck has senior
 6                                               Dkt.62-3 ¶2 (Beck Decl.).
        management responsibility for a broad
 7      spectrum of administrative, operational,
 8      and service units at UCLA and is
        responsible for developing policy,
 9      monitoring compliance, and overseeing
10      campus operations.
11   7. Defendant Monroe Gorden, Jr., is the
12      current Vice Chancellor, Student
        Affairs, of UCLA and has served in that
13                                              Dkt.107 ¶52 (Answer);
        position since April 2018. Gorden
                                                Dkt.62-7 ¶2 (Gorden
14      oversees numerous functions relating to
                                                Decl.).
15      student life and well-being. His role
        spans the entire range of student needs
16
        and interests.
17
     8. Defendant Rick Braziel served as the
18      Associate Vice Chancellor for Campus
19      Safety at UCLA from May 5, 2024 until
        January 31, 2025. In this role, Braziel
20                                                 Dkt.107 ¶¶53-54, 58
        served as the head of the newly created
21                                                 (Answer); Dkt.62-5 ¶¶2,
        Office of Campus Safety at UCLA, which
                                                   12-16, 21, 25, 27, 31
22      as of May 5, 2024, oversees the UCLA
                                                   (Braziel Decl.); 3d
        Police Department (“UCLA PD”). While
23                                                 Rassbach Decl. Ex. 12 at
        employed by UCLA, Braziel reported
24                                                 556.
        directly to the Chancellor of the
25      University and the Chief of the UCLA
        PD reported to Braziel. Braziel was
26
        involved with decision-making about
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1     how to address security and campus
       access issues.
 2
     9. Defendant Steve Lurie serves as the
 3
        Associate Vice Chancellor for Campus
 4      and Community Safety and has served
                                                    Dkt.107 ¶¶53-54, 58
 5      in that position after taking over for
                                                    (Answer); Dkt.62-5 ¶¶2,
        Defendant Braziel on February 1, 2025.
 6                                                  12-16, 21, 25, 27, 31
        He is automatically substituted as
 7                                                  (Braziel Decl.); 3d
        Defendant for the official-capacity
                                                    Rassbach Decl. Ex. 12 at
 8      claims against Defendant Braziel.
                                                    556; Fed. R. Civ. P. 25(d).
        Lurie’s job duties and lines of reporting
 9
        are identical to those of Defendant
10      Braziel while Braziel served in the role.
11   10. Defendants Hunt, Beck, and Gorden
12      serve on UCLA’s “senior leadership
13      team,” as did Block during his tenure as Dkt.107 ¶55 (Answer).
        Chancellor, and as does Frenk as
14      UCLA’s recently installed Chancellor.
15   11. UCLA’s senior leadership team is
16      ultimately responsible for leading and Dkt.107 ¶56 (Answer).
17      running UCLA’s campus.

18   12. UCLA’s     senior   leadership     team
        managed and oversaw UCLA’s response
19
        to antisemitism and demonstrations on Dkt.107 ¶56 (Answer);
20      campus during the 2023-24 academic Dkt.62-3 ¶¶4-7, 9-10, 17-
21      year, including making critical strategic 19 (Beck Decl.).
        and operational decisions about UCLA’s
22
        response to encampments that emerged
23      on campus.
24   13. President Drake communicated with
25      members of UCLA’s senior leadership
                                              Dkt.107 ¶57 (Answer).
        team during the 2023-24 academic year
26
        about UCLA’s response to antisemitism
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1     and protest activity, and continues to do
       so today.
 2
                                      UCLA
 3
     14. The University of California, Los
 4
        Angeles is a large public research
 5      university located in the Westwood
                                                 Dkt.107 ¶60 (Answer).
 6      neighborhood of Los Angeles, California,
        which is within the Central District of
 7
        California.
 8
     15. UCLA is one of the largest universities
 9      in California, with over 33,000
                                                 Dkt.107 ¶61 (Answer).
10      undergraduate students and over
11      13,000 graduate students.

12   16. UCLA is part of the 10-campus
        University of California system, which
13                                              Dkt.107 ¶62 (Answer).
        includes other universities such as the
14      University of California, Berkeley.
15   17. UCLA’s campus is spread across 419
16      acres of publicly owned land that is, as a Dkt.107 ¶63 (Answer).
        general matter, open to the public.
17
     18. UCLA has a significant number of
18
        Jewish students among its student Dkt.107 ¶65 (Answer).
19      population.
20   19. UCLA tells its students that its policies
21      exist to “create and maintain a safe,
        supportive, and inclusive campus
22                                                 Dkt.48-71 at 139
        community that engages students in
23                                                 (Rassbach Ex. 34).
        order to foster their academic success,
24      personal growth and responsible
        citizenship.”
25
26
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1   20. As a public university, UCLA maintains
        policies for public protests that include Dkt.107 ¶68 (Answer).
 2
        time, place, and manner restrictions.
 3
     21. For example, “[w]hile individuals may
 4      exercise the constitutionally protected
 5      rights of speech and assembly on
 6      university grounds that are generally
        open to the public, these activities must Dkt.48-70 at 137
 7      not interfere with the orderly operation (Rassbach Ex. 33).
 8      of the campus and must be conducted in
 9      a manner that reasonably protects
        others from becoming involuntary
10
        audiences.”
11
     22. Under      UCLA’s      Regulations       of
12      Activities,     Registered        Campus
13      Organizations, and Use of Properties,
        which was in effect from 2017 until
14
        September 3, 2024, persons may not
15      “block entrances to or otherwise
16      interfere with the free flow of traffic into
        and out of campus buildings,”
17                                                   Dkt.48-75 at 203-04
        “knowingly and willfully interfere with
18                                                   (Rassbach Ex. 38).
        the peaceful conduct of the activities of
19      the campus or any campus facility by
        intimidating, harassing, or obstructing
20
        any University employee, student, or
21      any other person having lawful business
22      with the University,” or “camp or lodge,
        except in authorized facilities or
23
        locations.”
24
     23. Similarly, under UCLA’s currently
25      operative Interim Policy 850: General 3d Rassbach Decl. Ex. 7 at
26      Use of UCLA Property, persons may not 532.
27      “block entrances to or otherwise

28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1     interfere with the free flow of campus
       traffic (pedestrian or vehicular) into and
 2
       out of campus facilities, or along
 3     walkways or roadways,” “knowingly and
 4     willfully interfere with the peaceful
       conduct of activities or another
 5
       individual’s ability to participate in
 6     their educational program on UCLA
 7     Property,”      “engage     in    abusive,
       threatening, harassing, or intimidating
 8
       conduct,”     “erect    any    Temporary
 9     Structure or encampment on UCLA
10     Property,” or “Camp overnight (between
       the hours of midnight and 6am).”
11
     24. UCLA’s     policies  do   not   allow
12
        unauthorized protesters to exercise
13                                               Dkt.107 ¶71 (Answer).
        exclusive control over campus facilities
14      or spaces.
15   25. The University of California has an
16      anti-discrimination policy that is in
        effect at UCLA and is intended to Dkt.107 ¶72 (Answer).
17      protect students and faculty from
18      discrimination and harassment.
19      Antisemitic Protests at UCLA Following the October 7th Attack
20   26. After Hamas’s terrorist attack on          3d Rassbach Decl. ¶14 at
21      October 7, 2023, UCLA’s campus              41:10-41:17 (providing
        experienced a “disturbing rise of           website link to Defendant
22
        antisemitism,” including a number of        Block’s May 23, 2024
23      antisemitic incidents and events, of        congressional testimony);
24      which UCLA was aware.                       see also Dkt.107 ¶¶1, 3,
                                                    74-75, 77, 93, 97, 102-104
25
                                                    (Answer); 3d Rassbach
26                                                  Decl. Ex. 1 at 14, 31, 52-58
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1                                                 ( “UCLA Antisemitism
                                                   Task Force Report”).
 2
     27. Indeed, “since October 7, 2023,
 3
        disturbing antisemitic language was
 4      used and imagery was present at Dkt.107 ¶75 (Answer).
 5      protests that occurred on UCLA’s
        campus.”
 6
                                                 Dkt.107 ¶¶75, 77, 86
 7   28. For example, during demonstrations on
                                                 (Answer); 3d Rassbach
 8      campus, there were chants of “kill the
                                                 Decl. Ex. 1 at 54-57
        Jews,” “from the river to the sea,
 9                                               (UCLA Antisemitism Task
        Palestine will be free,” and “Intifada.”
                                                 Force Report).
10
11                                               3d Rassbach Decl. Ex. 1 at
                                                 42, 48, 71 (UCLA
12   29. Swastikas   were   also   seen   around
                                                 Antisemitism Task Force
        campus.
13                                               Report); Dkt.107 ¶¶106
14                                               (Answer).

15   30. In one incident, an individual placed a
        disturbing antisemitic      statue on
16      campus, which depicted a several-foot-
                                                 Dkt.107 ¶102 (Answer).
17      tall pig holding a bag of money and a
18      birdcage with a keffiyeh, alongside a
        bucket painted with a star of David.
19
     31. Other activists chalked Stars of David 3d Rassbach Decl. Ex. 1 at
20
        onto UCLA’s sidewalks alongside 71 (UCLA Antisemitism
21      directions to “Step Here.”              Task Force Report).
22   32. During an event on November 8, 2023,
                                                   3d Rassbach Decl. Ex. 1 at
23      activists bashed a piñata depicting
                                                   57 (UCLA Antisemitism
        Israeli Prime Minister Benjamin
24                                                 Task Force Report);
        Netanyahu while the crowd cheered and
25                                                 Dkt.107 ¶87 (Answer).
        chanted “beat that fucking Jew.”
26
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1              A Jew Exclusion Zone is Established on Campus
 2   33. In April 2024, “Palestinian Solidarity” Dkt.62-3 ¶4 (Beck Decl.);
 3      encampments began appearing on Dkt.62-5 ¶23 (Braziel
        university campuses across the country. Decl.); Dkt.107 ¶107
 4                                               (Answer).
 5   34. This came to include UCLA. On April       Dkt.48-23 at 60
 6      25, 2024, a group of activists             (Shemuelian Ex. 15);
 7      “established an unauthorized physical      Dkt.62-3 ¶5 (Beck Decl.);
        encampment on part of Royce Quad” in       Dkt.107 ¶¶4, 113
 8
        the middle of the night.                   (Answer); 3d Rassbach
 9                                                 Decl. Ex. 1 at 58-59
10                                                 (UCLA Antisemitism Task
                                                   Force Report).
11
     35. Royce Quad, also known as Dickson
12
        Plaza, is a large, grassy space located
13      between two buildings to its north
                                                Dkt.107 ¶109 (Answer);
14      (Royce Hall and Haines Hall), and two
                                                Dkt.48-38 at 5 (Rassbach
        buildings to its south (Powell Library
15                                              Ex. 1).
        and Kaplan Hall), which represent the
16      original four buildings of UCLA’s
17      campus.
18   36. Royce Quad is one of the most-
        frequented areas on campus where
19
        students gather during the day and
20      between classes. It is also a
21      thoroughfare that students and faculty
                                               Dkt.107 ¶110 (Answer).
        routinely use to access the rest of
22
        UCLA’s campus. It is also located a
23      short walk from many academic
24      buildings, including UCLA’s business
25      school and law school.

26   37. Powell Library is UCLA’s main
                                               Dkt.107 ¶112 (Answer).
        undergraduate library and is a popular
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1     place to study on campus. It offers a
       wide variety of programming, including
 2
       exhibits, concerts, dances, readings and
 3     other events.
 4   38. At times, the encampment extended as
 5      far west as the Janss Steps, a long Dkt.107 ¶114 (Answer).
        staircase leading up to Royce Quad.
 6
     39. The encampment grew throughout the         3d Rassbach Decl. Ex. 3 at
 7
        week it existed, at one point reaching      143 (“U.S. House
 8      “an estimated 250-300 tents inside the      Committee Report on
 9      heavily fortified encampment” and “at       Antisemitism”); Dkt.62-3
        least 500 individuals during the day.”      ¶¶6, 12 (Beck Decl.).
10
11   40. Inside the encampment,         activists
                                                    Dkt.107 ¶115 (Answer).
        chanted antisemitic slogans.
12
     41. Activists also displayed antisemitic 3d Rassbach Decl. Ex. 1 at
13      imagery on signs and graffiti.        61, 73, 78 (UCLA
14                                            Antisemitism Task Force
15                                            Report); Dkt.107 ¶¶117,
                                              123 (Answer).
16
     42. Activists established a perimeter          3d Rassbach Decl. Ex. 1 at
17
        around the encampment with metal            60 (UCLA Antisemitism
18      barriers and plywood, using metal           Task Force Report);
19      bicycle racks that UCLA had placed on       Dkt.107 ¶¶7, 128-29, 156
        the periphery of the encampment.            (Answer); Dkt.62-3 ¶¶6-7
20
                                                    (Beck Decl.); Dkt.123 at 7
21                                                  (Defendants’ Reply ISO
22                                                  Mot. for Judgment on the
                                                    Pleadings) (conceding that
23
                                                    Defendants “barricad[ed
24                                                  the] campus
25                                                  encampment”).
26
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1                                           3d Rassbach Decl. Ex. 3 at
     43. “As early as April 25, violence was
                                             142 (U.S. House
 2      documented within and around the
                                             Committee Report on
 3      encampment.”
                                             Antisemitism).
 4   44. Activists   “began     using    human     3d Rassbach Decl. Ex. 1 at
 5      phalanxes (with protesters shouting,       61-64, 68, 70, 81 (UCLA
 6      ‘human chain’) to block certain persons    Antisemitism Task Force
        from moving freely through public areas    Report); see also Dkt.107
 7      of Royce Quad, and surrounded some         ¶¶4, 128-33 (Answer); Dkt
 8      other individuals to forcibly move them    48-23 at 60 (Shemuelian
 9      from areas in or adjacent to the           Ex. 15); 3d Rassbach Decl.
        encampment.”                               Ex. 4 at 447-448 (“U.S.
10                                                 House Antisemitism
11                                                 Report”).
12   45. Jews “wearing a Star of David or a        3d Rassbach Decl. Ex. 1 at
13      kippah” or “refusing to denounce” Israel   61-64, 68, 70, 81 (UCLA
        “were physically blocked by the            Antisemitism Task Force
14
        protesters’ phalanxes from entering or     Report); see also Dkt.107
15      passing through the occupied area of       ¶¶4, 128-33 (Answer); Dkt
16      Royce Quad, entering Royce Hall, or        48-23 at 60 (Shemuelian
        entering Powell Library.”                  Ex. 15); 3d Rassbach Decl.
17
                                                   Ex. 4 at 447-448 (U.S.
18                                                 House Antisemitism
19                                                 Report).
20   46. These actions “denied Jews and others
                                                   3d Rassbach Decl. Ex. 1 at
        free passage and access to campus
21                                                 68, 70, 81 (UCLA
        classrooms and facilities” and “resulted
22                                                 Antisemitism Task Force
        in Jews and others who would not
                                                   Report); see also Dkt.107
23      renounce the State of Israel being
                                                   ¶¶4, 128-33 (Answer); Dkt
        hindered in their efforts to freely and
24                                                 48-23 at 60 (Shemuelian
        fully avail themselves of campus
25                                                 Ex. 15).
        offerings.”
26
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1   47. “[A]fter social media posts about Jewish
        students being excluded from portions of
 2
        campus went viral, administrators were 3d Rassbach Decl. Ex. 2 at
 3      inundated with complaints and concerns 108 ( “UCLA Independent
 4      from      parents,     politicians,   and Investigation Report”).
 5      community members about why the
        University was allowing it to continue.”
 6
     48. “[T]he encampment’s denial of passage       3d Rassbach Decl. Ex. 1 at
 7      and access to certain parts of campus to     64 (UCLA Antisemitism
 8      ‘supporters of Israel’ ended up targeting    Task Force Report); see
 9      Jews” and “constitutes de facto              also Dkt.107 ¶¶4, 128-33
        discrimination against a protected           (Answer); Dkt 48-23 at 60
10
        class.”                                      (Shemuelian Ex. 15).
11
     49. Indeed, “the denial of common rights or     3d Rassbach Decl. Ex. 1 at
12      access to supporters of Israel constitutes   81 (UCLA Antisemitism
13      a form of de facto or structural             Task Force Report); see
        antisemitism and should be viewed as         also Dkt.107 ¶¶4, 128-33
14
        discrimination against a protected           (Answer); Dkt 48-23 at 60
15      class.”                                      Shemuelian Ex. 15).
16   50. “In so far as conditions on campus
17      resulted in Jews and others who would
        not renounce the State of Israel being
18
        hindered in their efforts to freely and 3d Rassbach Decl. Ex. 1 at
19      fully avail themselves of campus 81 (UCLA Antisemitism
20      offerings, the University also failed in Task Force Report).
        its legal obligation to protect First
21
        Amendment rights to the free exercise of
22      religion ….”
23   51. Some    UCLA     “faculty members
                                           Dkt.107 ¶140 (Answer).
24      supported the encampment.”
25   52. “[T]he administration was informed
                                              3d Rassbach Decl. Ex. 3 at
26      that instructors were moving their
                                              143 (U.S. House
        classes (many of which were the final
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1     review sessions before midterm exams) Committee Report on
       into the encampment.”                 Antisemitism).
 2
     53. Indeed, the activists involved in
 3
        blocking students included UCLA
 4      faculty, who “entered the encampment
 5      in support of its activities” and          3d Rassbach Decl. Ex. 1 at
        “participat[ed] in the encampment          70 (UCLA Antisemitism
 6
        activities including denial of campus      Task Force Report); see
 7      access to Jews and those supporting        also Dkt.107 ¶140
 8      Israel” and thus “participated in and      (Answer).
        abetted discrimination against and
 9
        harassment of Jews and supporters of
10      Israel.”
11   54. Faculty members called for fellow
                                                   3d Rassbach Decl. Ex. 1 at
12      faculty to excuse student absences
                                                   70 (UCLA Antisemitism
13      related to presence at the encampment,
                                                   Task Force Report); see
        and reports indicated that some faculty
14                                                 also Dkt.107 ¶143
        offered “extra credit for attendance at
                                                   (Answer).
15      the encampment or related events.”
16               UCLA Facilitates the Anti-Jewish Segregation
17   55. By April 23, 2024, members of UCLA’s
18      senior leadership team had discussed
        plans for confronting a potential Dkt.62-3 ¶4 (Beck Decl.);
19
        encampment. “The initial discussions see also Dkt.107 ¶151
20      were about what steps [UCLA] could (Answer).
21      take to prevent an encampment from
        being formed on campus.”
22
     56. On the morning of April 25, 2024,
23
        members of the senior leadership team
24                                            Dkt.107 ¶154 (Answer).
        became aware that an encampment had
25      formed on UCLA’s campus.
26   57. “From the beginning, … it was obvious 3d Rassbach Decl. Ex. 3 at
        to many campus leaders that the 142 (U.S. House
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1     encampment on Royce Quad violated a Committee Report on
       long list of University policies and Antisemitism).
 2
       presented a clear and present danger to
 3     Jewish students.”
 4   58. As of that day, the senior leadership
 5      team “agree[d]” that the encampment
        “needed to be removed at some point” Dkt.62-3 ¶5 (Beck Decl.).
 6
        but did not make specific plans to
 7      remove it “immediately.”
 8   59. Also on April 25, Defendants directed     Dkt.107 ¶156 (Answer);
 9      the installation of metal bike racks       Dkt.62 at 3 (Defs.’ Opp. to
        around the encampment. More bike           Mot. for Prelim. Inj.); 3d
10
        racks were installed two days later,       Rassbach Decl. Ex. 1 at 60
11      again at Defendants’ direction.            (UCLA Antisemitism Task
12                                                 Force Report); Dkt.62-3
                                                   ¶¶6-7 (Beck Decl.);
13
                                                   Dkt.123 at 7 (Defendants’
14                                                 Reply ISO Mot. for
15                                                 Judgment on the
16                                                 Pleadings) (conceding that
                                                   Defendants “barricad[ed
17                                                 the] campus
18                                                 encampment”).
19   60. “[A]dministrators” also “acted to make
20      it easier for the encampment to remain
                                                   3d Rassbach Decl. Ex. 3 at
        in place: the sprinklers on Royce Quad
21                                                 141-42 (U.S. House
        were turned off, and University
                                                   Committee Report on
22      leadership was informed by facilities
                                                   Antisemitism).
23      staff that they would stay off for the
        duration of the encampment.”
24
     61. UCLA repeatedly issued campus-wide        Dkt.48-16 at 53
25
        communications stating that it was         (Shemuelian Ex. 8); see
26      “actively monitoring this situation to     also Dkt.48-17 at 54
27      support a safe and peaceful campus         (Shemuelian Ex. 9);
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1     environment     that   respects  our        Dkt.48-18 at 55
       community’s right to free expression        (Shemuelian Ex. 10);
 2
       while minimizing disruption to our          Dkt.48-19 at 56
 3     teaching and learning mission.”             (Shemuelian Ex. 11).
 4   62. UCLA stationed security personnel,        Dkt.107 ¶12 (Answer);
 5      which included third-party security and    Dkt.48-18 at 55
        crowd-management personnel, around         (Shemuelian Ex. 10);
 6
        the encampment.                            Dkt.48-19 at 56
 7                                                 (Shemuelian Ex. 11);
 8                                                 Dkt.48-20 at 57
                                                   (Shemuelian Ex. 12);
 9
                                                   Dkt.62-3 ¶¶7-8 (Beck
10                                                 Decl.).
11   63. An April 27, 2024 campus-wide alert
12      announced that UCLA had placed
13      “[s]afety personnel” wearing certain Dkt.48-18 at 55
        “uniforms … around the encampment (Shemuelian Ex. 10).
14      site” and that “CSC security teams
15      [were] also located throughout campus.”
16   64. CSC stands for Contemporary Services
17      Corporation, which is a private security
        company with experience managing Dkt.107 ¶158 (Answer).
18      crowds and providing event security,
19      including at colleges and universities.
20   65. Part of the role of outside security
21      personnel like CSC is to “enforce 3d Rassbach Decl. Ex. 2 at
        boundaries by ensuring barriers remain 110 (UCLA Independent
22
        in place and telling people where they Investigation Report).
23      are allowed to go.”
24   66. An April 28, 2024 campus-wide alert
25      further noted that UCLA “ha[d] safety Dkt.48-19 at 56
        teams who are wearing Student Affairs (Shemuelian Ex. 11).
26
        Mitigators (SAMs), Public Safety Aides
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1     (PSAs) and CSC security uniforms
       throughout the demonstration site.”
 2
     67. This alert also noted that UCLA had
 3
        “taken several steps to help ensure
 4      people on campus know about the
 5      demonstration so they can avoid the
        area if they wish,” including by “having
 6                                               Dkt.48-19 at 56
        student      affairs     representatives
 7                                               (Shemuelian Ex. 11).
        stationed near Royce [Q]uad to let
 8      Bruins and visitors know about the
        encampment, redirect them if desired
 9
        and to serve as a resource for their
10      needs.”
11   68. An April 29, 2024 campus-wide alert
12      stated that UCLA had “increased the
13      numbers of our safety team members on
                                                 Dkt.48-20 at 57
        site, including our uniformed Student
14                                               (Shemuelian Ex. 12).
        Affairs Mitigators (SAMs), Public Safety
15      Aides (PSAs), CSC and campus
16      security.”

17   69. UCLA’s security staff participated in
        limiting access to the encampment.
18      UCLA admits that it “instructed” the Dkt.107 ¶161 (Answer);
19      “security staff” “to prevent anyone from see also Dkt.62-3 ¶¶7-8
20      accessing” so-called “‘neutral zones’ (Beck Decl.).
        between the encampment and counter-
21
        demonstrators.”
22
     70. These “neutral zones” were located to
23      the immediate east and west of the
                                               Dkt.62-3 ¶7 (Beck Decl.).
24      location of the encampment on Royce
        Quad.
25
     71. UCLA also directed the UCLA PD not 3d Rassbach Decl. Ex. 1 at
26
        to intervene in the encampment.     68 (UCLA Antisemitism
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1                                                 Task Force Report); 3d
                                                   Rassbach Decl. Ex. 2 at
 2
                                                   100, 112 (UCLA
 3                                                 Independent Investigation
 4                                                 Report).
 5   72. There was a “widespread belief among
        UCLA Police Department officials that 3d Rassbach Decl. Ex. 2 at
 6
        they were not allowed to take any action 100 (UCLA Independent
 7      to respond to behavior that began as a Investigation Report).
 8      policy violation.”
 9   73. “[T]he UCLA administration was
        responsive to … requests” from
10
        “[e]ncampment members” who “made 3d Rassbach Decl. Ex. 2 at
11      clear throughout the encampment 112 (UCLA Independent
12      period they did not want to engage with Investigation Report).
13      police or to see police in or around the
        encampment.”
14
     74. Indeed, “there is general agreement
15                                            3d Rassbach Decl. Ex. 2 at
        across most accounts that police were
                                              112 (UCLA Independent
16      instructed to remain wholly unseen by
                                              Investigation Report).
17      protesters.”

18   75. In one incident, “when protesters
        objected to officers’ presence in a nearby
19
        building, where they had positioned 3d Rassbach Decl. Ex. 2 at
20      themselves to gain information about 112 (UCLA Independent
21      the    state    of    the   encampment, Investigation Report).
        administrators instructed officers to
22
        leave.”
23
     76. UCLA repeatedly informed the campus
                                                   Dkt.48-19 at 56
24      community      that  “University    of
                                                   (Shemuelian Ex. 11);
25      California systemwide policy guidance”
                                                   Dkt.74-2 (Suppl. Rassbach
        requires it “not to request law
26                                                 Ex. 2).
        enforcement               involvement
27
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 1     preemptively,” but “only if absolutely
       necessary to protect the physical safety
 2
       of our campus community.”
 3
     77. This statement of UCLA’s policy not to
 4      request preemptive assistance refers to
                                                   Dkt.62 at 10-11 (Defs.’
 5      the     senior    leadership     team’s
                                                   Opp. to Mot. for Prelim.
        interpretation of the Robinson-Edley
 6                                                 Inj.); see also Dkt.107
        Report, a document published by the
 7                                                 ¶171 (Answer); Dkt.62-6
        University of California system that,
                                                   at 4-161 (Braziel Ex. 2)
 8      according to UCLA, “affords UC
                                                   (Robinson-Edley report).
        campuses broad discretion to respond to
 9
        protests.”
10
     78. On    April  28,   2024,  “physical
11      altercations  broke    out   among
                                             Dkt.48-20 at 57
12      demonstrators on Royce Quad,” as
                                             (Shemuelian Ex. 12).
13      UCLA acknowledged in a campus-wide
        message.
14
                                                   3d Rassbach Decl. Ex. 3 at
15   79. The violence included “the child of a
                                                   143 (U.S. House
        Holocaust survivor” being “pepper
16                                                 Committee Report on
        sprayed by encampment participants”
17                                                 Antisemitism); see also 3d
        and “a Jewish student” being “thrown to
                                                   Rassbach Decl. Ex. 1 at
18      the ground by members of the
                                                   65-66 (UCLA
        encampment and repeatedly kicked in
19                                                 Antisemitism Task Force
        the head.”
20                                                 Report).

21                                            Dkt.48-20 at 57
     80. While UCLA increased the number of (Shemuelian Ex. 12); 3d
22
        security staff around the encampment, Rassbach Decl. Ex. 1 at
23      it did not immediately clear the 65-66 (UCLA
24      encampment.                           Antisemitism Task Force
                                              Report).
25
     81. On April 30, 2024, Defendant Block Dkt 48-23 at 60
26
        sent a campus-wide email addressing (Shemuelian Ex. 15).
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1     the encampment. Block acknowledged
       that    the    “unauthorized     physical
 2
       encampment” had led to “shocking and
 3     shameful” “tactics.” He stated that the
 4     encampment had given rise to
       “instances of violence completely at odds
 5
       with our values” and had resulted in
 6     “students on their way to class [being]
 7     physically blocked from accessing parts
       of the campus.” “These incidents,” Block
 8
       continued, “have put many on our
 9     campus, especially our Jewish students,
10     in a state of anxiety and fear.”
11   82. The same day that Defendant Block
        sent his message, UCLA acknowledged Dkt.48-21 at 58
12
        that the encampment was impeding (Shemuelian Ex. 13).
13      access to certain parts of campus.
14   83. Specifically, UCLA sent a Campus
15      Activity Update announcing that
16      “access to Royce Quad is limited and as
                                                Dkt.48-21 at 58
        such, please enter Powell and Kaplan
17                                              (Shemuelian Ex. 13).
        Hall from the south-facing entrances;
18      Royce and Haines Hall are accessible
19      through the north or west entrances.”

20   84. The update also stated that UCLA had
        “stationed”       “student        affairs
21                                                Dkt.48-21 at 58
        representatives … near Royce [Q]uad”
                                                  (Shemuelian Ex. 13).
22      to, among other things, “redirect”
23      “Bruins and visitors … if desired.”

24   85. The update further noted that UCLA
        would “continue to ensure people on Dkt.48-21 at 58
25
        campus know about the demonstration (Shemuelian Ex. 13).
26      so they can avoid the area if they wish.”
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1   86. That same afternoon, UCLA announced
        that Royce Hall would be closed through Dkt.48-22 at 59
 2
        that Friday and Powell Library until the (Shemuelian Ex. 14).
 3      following Monday.
 4   87. The same announcement again noted
 5      that “[s]tudent affairs representatives”
                                                 Dkt.48-22 at 59
 6      were “stationed near Royce Quad” and
                                                 (Shemuelian Ex. 14).
        that UCLA had “increased the numbers
 7      of our safety team members on site.”
 8
     88. The announcement did not direct
 9      activists to remove the barricades Dkt.48-22 at 59
10      around the encampment or to permit (Shemuelian Ex. 14).
        access to campus facilities.
11
     89. That evening (on April 30, 2024),
12
        “[w]hen     campus       administrators
13      attempted to close Royce Hall and
                                                   3d Rassbach Decl. Ex. 3 at
14      Powell Library … , a UCPD lieutenant
                                                   144 (U.S. House
        reported that encampment members
15                                                 Committee Report on
        were ‘controlling’ the east entrance,
16                                                 Antisemitism).
        allowing     encampment        members
17      unrestricted access to the building and
        its bathrooms.”
18
     90. Later that evening (on April 30, 2024),
19
        a violent confrontation arose between Dkt.48-24 at 62
20      the encampment activists and counter- (Shemuelian Ex. 16).
21      protesters.
22   91. In response to this confrontation, Dkt.48-24 at 62
23      Defendants instructed UCLA PD and (Shemuelian Ex. 16);
        LAPD to intervene, which they did.  Dkt.107 ¶¶186-87
24                                          (Answer).
25   92. UCLA PD and LAPD did not “remove Dkt.107 ¶¶186-87
26      the Royce Quad encampment” as part of (Answer); see also Dkt.48-
27      the intervention.                     24 at 62 (Shemuelian Ex.
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1                                                 16); Dkt.62-3 ¶¶12-13
                                                   (Beck Decl.).
 2
     93. The next day—May 1, 2024—
 3
        Chancellor Block sent a campus-wide
 4      email condemning the “attack [on] the
 5      encampment that has been established
                                                 Dkt.48-24 at 62
        … to advocate for Palestinian rights”
 6                                               (Shemuelian Ex. 16).
        and stating that “I can assure you that
 7      we will conduct a thorough investigation
 8      that may lead to arrests, expulsions and
        dismissals.”
 9
     94. This email did not condemn the
10
        encampment or the conduct of those
11      involved    with   the     encampment, Dkt.48-24 at 62
12      including the exclusion of supporters of (Shemuelian Ex. 16).
13      Israel from campus. It also did not
        mention disbanding the encampment.
14
     95. The encampment remained in place
15                                        Dkt.107 ¶190 (Answer).
        that day (May 1, 2024).
16   96. The same day, UCLA cancelled “all         Dkt.48-25 at 64
17      classes” because of the “distress caused   (Shemuelian Ex. 17); see
18      by the violence that took place on Royce   also Dkt.107 ¶190
        Quad.”                                     (Answer).
19
     97. And later that day, UCLA announced
20                                                 Dkt 48-26 at 65
        that people should “continue to avoid
21                                                 (Shemuelian Ex. 18); see
        campus and the Royce Quad area” and
                                                   also Dkt.107 ¶190
22      that classes would be held remotely on
                                                   (Answer).
        May 2 and 3.
23
     98. “[E]arly” in the “morning” on May 2,
24
        2024, Defendants “made the decision to
25                                              Dkt 48-27 at 68
        direct    UCPD     and   outside    law
                                                (Shemuelian Ex. 19).
26      enforcement officers to enter and clear
        the encampment.”
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1   99. In another email to the campus
        community,     delivered   that    day,
 2
        Defendant Block acknowledged that
 3      “the encampment on Royce Quad was
 4      both unlawful and a breach of policy,” Dkt 48-27 at 68
 5      which his administration “had allowed (Shemuelian Ex. 19).
        … to remain in place,” resulting in
 6      “[d]emonstrators directly interfer[ing]
 7      with instruction by blocking students’
 8      pathways to classrooms.”

 9   100. Defendant Block described how his
       administration    had    met    with
10
       “demonstration leaders to discuss
                                            Dkt 48-27 at 68
11     options for a peaceful and voluntary
                                            (Shemuelian Ex. 19).
12     disbanding of the encampment,” but
       “that meeting did not lead to an
13
       agreement.”
14
     101. Defendant Block also described the
15     “carefully developed” “plan” that law
16     enforcement used to clear           the
       encampment, which included “giv[ing]” Dkt 48-27 at 68
17
       the activists “several warnings” and (Shemuelian Ex. 19).
18     “offer[ing] the opportunity to leave
19     peacefully with their belongings before
       officers entered the area.”
20
     102. The “UCLA Police Department Chief
21
       stated on May 2, 2024, that he had
22     advised UCLA leadership, from the
                                              3d Rassbach Decl. Ex. 1 at
23     beginning, not to allow the encampment
                                              68 (UCLA Antisemitism
       since it violated campus rules against
24                                            Task Force Report).
       overnight camping and he feared it
25     could lead to problems, but University
26     leadership decided to allow it ‘as an
27
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1     expression   of     students’        First
       Amendment rights.’”
 2
     103. Defendant      Block     subsequently
 3                                                  3d Rassbach Decl. ¶14 at
       admitted that the “encampment was
                                                    2:45:21-2:45:27, 45:03:00-
 4     against policy” and “violated time, place,
                                                    45:08:00 (providing
 5     and manner” restrictions, and that
                                                    website link to Defendant
       UCLA “should have been prepared to
 6                                                  Block’s May 23, 2024
       immediately remove the encampment if
                                                    congressional testimony).
 7     and when the safety of our community
 8     was put at risk.”
 9   104. Indeed, “[c]ampus officials continued
       to refuse to break up the encampment
10
       even after the protesters denied Jews
11                                              3d Rassbach Decl. Ex. 1 at
       and others free passage and access to
                                                68 (UCLA Antisemitism
12     campus classrooms and facilities on
                                                Task Force Report).
13     grounds that allowance of such
       behaviors and activities was part of
14     their ‘de-escalation strategy.’”
15   105. UCLA     “failed   to   issue   any
                                                    3d Rassbach Decl. Ex. 3 at
16     suspensions or probations against
                                                    184 (U.S. House
17     students for conduct related to
                                                    Committee Report on
       antisemitic protests, disruptions, and
18                                                  Antisemitism).
       harassment[.]”
19
     106. “Of the 96 UCLA students arrested on
20     May 2, 2024, following their refusal to
21     leave      the     school’s     unlawful     3d Rassbach Decl. Ex. 3 at
       encampment, 92 signed an agreement           184 (U.S. House
22                                                  Committee Report on
       with the Office of Student Conduct that
23     allowed them to evade discipline in          Antisemitism); see also 3d
24     return for stating they would refrain        Rassbach Decl. Ex. 4 at
       from future violations of the Student        454 (U.S. House
25
       Conduct Code.” “Of the four students         Antisemitism Report).
26     [who] did not sign the agreement, three
27     of them are listed as ‘graduation hold in
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1     place,’ while one remains enrolled at
       UCLA.”
 2
     107. “No UCLA students were disciplined       3d Rassbach Decl. Ex. 3 at
 3
       for blocking Jewish students from           184 (U.S. House
 4     accessing public areas of UCLA’s            Committee Report on
 5     campus during the encampment[,]” and        Antisemitism); see also
       “UCLA has failed to identify any of those   Rassbach Decl. Ex. 4 at
 6
       responsible for the blocking [of] Jewish    454 (U.S. House
 7     students from accessing these areas.”       Antisemitism Report).
 8      Radical Groups Continue Constructing Encampments on UCLA’s
 9                   Campus, and UCLA Fails to Respond
10   108. Further       demonstrations and 3d Rassbach Decl. Ex. 1 at
11     encampments have appeared on campus 73 & n.178 (UCLA
       since the first one.                Antisemitism Task Force
12                                         Report); Dkt.62-5 ¶¶27-30
13                                         (Braziel Decl.); 3d
14                                         Rassbach Decl. Ex. 8 at
                                           546-47; Dkt.48-61 at 126
15                                         (Rassbach Ex. 24); Dkt.48-
16                                         62 at 127 (Rassbach Ex.
17                                         25); Dkt.48-63 at 128
                                           (Rassbach Ex. 26); Dkt.48-
18                                         33 at 83 (Shemuelian Ex.
19                                         25); Dkt.48-34 at 84
20                                         (Shemuelian Ex. 26);
                                           Dkt.48-35 at 86-87
21
                                           (Shemuelian Ex. 27);
22                                         Dkt.48-36 at 88
23                                         (Shemuelian Ex. 28).

24   109. Early in the morning on May 6, 2024,
       “a    group    of   approximately    40
25                                             3d Rassbach Decl. Ex. 8 at
       individuals”    occupied   a   parking
                                               546.
26     structure on UCLA’s campus while
27     “wearing masks and in possession of
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1     metal pipes” and other “tools and items
       that could be used to unlawfully enter
 2
       and barricade a building,” such as “bolt
 3     cutters” and “heavy-duty chains.”
 4   110. Around the same time that morning,
 5     “while the group at Parking Structure 2
       was still detained, a group of at least 30
 6
       individuals were seen inside Moore
 7     Hall,” which “was closed to the public at 3d Rassbach Decl. Ex. 8 at
 8     that time.” “UCPD learned via social 546.
       media that a UCLA registered student
 9
       organization had just posted a
10     statement encouraging people to occupy
11     Moore Hall.”
12   111. “Officers responded to the building
13     and … secured the perimeter to prevent
       additional access into the building.
14     UCPD officers announced eight times
15     that the building was closed and that all 3d Rassbach Decl. Ex. 8 at
16     occupants were required to leave. After 546.
       approximately      25     minutes      of
17     announcements, … a group of about 60
18     individuals exited the building and left
19     the area.”

20   112. “[T]he group of … individuals who left
       Moore Hall marched to Dodd Hall and
21
       entered that building, which was open to
                                                 3d Rassbach Decl. Ex. 8 at
22     the public and being used for midterm
                                                 547.
23     exams. The group created a disturbance
       inside the building and interrupted at
24
       least one midterm exam.”
25
     113. “As officers were preparing to enter
                                                3d Rassbach Decl. Ex. 8 at
26     the building, the group exited, joined a
                                                547.
27     crowd of about 150 protesters outside,
28   PLAINTIFFS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
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 1     and started to protest outside the
       building” before then “march[ing] to
 2
       Bruin Plaza, where they eventually
 3     dispersed.”
 4   114. In response, UCLA required classes to Dkt.48-62 at 127
 5     be held remotely from May 6 to May 10, (Rassbach Ex. 25); Dkt.48-
       2024.                                    63 at 128 (Rassbach Ex.
 6
                                                26); Dkt.107 ¶204
 7                                              (Answer).
 8   115. Another encampment arose a couple Dkt.48-57 at 111
 9     of weeks later.                      (Rassbach Ex. 20); Dkt.48-
                                            33 at 83 (Shemuelian Ex.
10
                                            25); Dkt.48-34 at 84
11                                          (Shemuelian Ex. 26).
12   116. On May 23, 2024, “shortly before 7
13     a.m., demonstrators arrived on the
                                                   Dkt.48-34 at 84
14     Kerckhoff patio and began to erect
                                                   (Shemuelian Ex. 26); Dkt.
       barricades,”                “establishing
15                                                 48-33 at 83 (Shemuelian
       fortifications,” “blocking access to the
                                                   Ex. 25).
16     area and nearby buildings and
17     disrupting regular campus operations.”

18   117. After being told to “disperse,” the
       activists relocated to Dodd Hall, again
19                                              Dkt.48-34 at 84
       “barricad[ing] access” and “committ[ing]
                                                (Shemuelian Ex. 26).
20     acts of vandalism” before being ordered
21     to “disperse.”

22   118. “The group was ordered to disperse
                                              Dkt.48-34 at 84
       and, while some demonstrators left,
23                                            (Shemuelian Ex. 26).
       ultimately UCPD cleared the building.”
24
     119. Then, on June 10, 2024, activists “set   Dkt.48-58 at 112
25     up an unauthorized and unlawful             (Rassbach Ex. 21); see also
26     encampment” at “the walkway at the top      Dkt.48-35 at 86
       of the Janss Steps” with “tents,            (Shemuelian Ex. 27).
27
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 1     canopies, wooden shields, and water-
       filled barriers.”
 2
     120. The group “restricted access to the
 3                                            Dkt.48-58 at 112
       general public” and “disrupted nearby
 4                                            (Rassbach Ex. 21).
       final exams.”
 5   121. After “multiple dispersal orders,”
 6     “[t]he group then marched to the
       Kerckhoff [P]atio, where they set up an
 7
       unauthorized         and       unlawful Dkt.48-58 at 112
 8     encampment with tents, canopies, and (Rassbach Ex. 21).
 9     barricades,” “restricted access to the
       general public,” “enter[ed] Moore Hall,”
10
       and “disrupted nearby final exams.”
11
     122. After more “dispersal orders,” “[t]he
12     group then marched to the courtyard
13     between Dodd Hall and the School of
14     Law, where they set up another Dkt.48-58 at 112
       unauthorized        and       unlawful (Rassbach Ex. 21).
15     encampment,” “restricted access to the
16     general public,” and “disrupted nearby
17     final exams.”

18   123. “As a result of the unauthorized and
       unlawful encampments at the three
19
       locations, the group damaged the
20     Shapiro fountain, spray-painted brick Dkt.48-58 at 112
21     walkways, tampered with fire safety (Rassbach Ex. 21).
       equipment, damaged patio furniture,
22
       stripped wire from electrical fixtures,
23     and vandalized vehicles.”
24   124. Further, the June 10 encampments
25     resulted in “the blocking of student Dkt.48-35 at 86
       access to parts of campus,” with some (Shemuelian Ex. 27).
26
       students “miss[ing] finals because they
27
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 1     were blocked from entering classrooms”
       and others “ha[ving] to be evacuated in
 2
       the middle of taking their final exams.”
 3
     125. Moreover, “[t]hroughout the evening,
 4     there were also violent attacks on safety
                                                  Dkt.48-35 at 86
 5     personnel     and     law     enforcement,
                                                  (Shemuelian Ex. 27).
       resulting in at least six injuries to UCPD
 6
       personnel and other safety officers.”
 7
           Antisemitic Chaos Continues in the 2024-2025 School Year
 8
     126. Defendant Braziel spent the summer
 9     months preceding the new 2024-25
10     academic year “run[ning] through
                                             Dkt.62-5 ¶31 (Braziel
11     various scenarios with the senior
                                             Decl.).
       leadership and experts to proactively
12     put strategies in place to respond to
13     potential civil unrest.”
14   127. “[I]ndividuals disrupted a portion of
15     the September 19, 2024 meeting of The Dkt.107 ¶228 (Answer).
       Regents of the University of California.”
16
     128. On October 7, 2024—the one-year
17
       anniversary of Hamas’s terrorist attacks
18     on Israel—“UCLA’s Undergraduate
19     Student Association Council (USAC)
       Cultural Affairs Commission,” which is
20                                                 3d Rassbach Decl. Ex. 1 at
       part of the university and “is funded by
21     mandatory      undergraduate     student    78 (UCLA Antisemitism
22     fees,” “posted a series of images and       Task Force Report)
       statements that depicted paragliders        (footnotes omitted).
23
       and inverted red triangles, which are
24     used by Hamas as symbols to indicate
25     Israeli targets and are now associated
       with torture, rape, and murder of
26
       unarmed civilian victims” which
27
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 1     “dehumanizes Jews and Israelis and …
       celebrate[s] overt violence against
 2
       Israeli civilians.”
 3
     129. Also on October 7, 2024, “the UCLA
 4     student group, Students for Justice in
 5     Palestine, organized and held a
       demonstration in North Di[cks]on Court
 6
       … in violation of campus time, place, 3d Rassbach Decl. Ex. 1 at
 7     and manner restrictions, and other 79 (UCLA Antisemitism
 8     campus and University rules.” “No Task Force Report).
       disciplinary actions have been taken
 9
       against these student groups or
10     individuals who are in violation of
11     campus policies.”
12   130. There was another “unauthorized
13     demonstration” on UCLA’s campus “on
                                             Dkt.107 ¶232 (Answer); 3d
       October 21, 2024” when demonstrators
14                                           Rassbach Decl. Ex. 9 at
       set up “unauthorized structures” in
                                             549.
15     Dickson Court North before dispersing
16     after orders from UCLA PD.

17   131. And on November 19, 2024,
       “approximately 75 people” involved in
18     “protest activity” “formed a human
19     chain by linking their arms together”
                                             3d Rassbach Decl. Ex. 10
20     and “block[ing] pedestrian access on
                                             at 551.
       Bruin Walk,” “the main pedestrian
21
       thoroughfare     on   campus.”   Law
22     enforcement eventually cleared the
23     blockade.

24                          Plaintiffs’ Religious Exercise
25   132. Yitzchok Frankel is a third-year law
                                               Dkt.107 ¶233 (Answer).
       student at UCLA School of Law.
26
27
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 1   133. Frankel is an Orthodox Jew.              Dkt.48-2 ¶3 (Frankel
                                                   Decl.).
 2
 3   134. Frankel seeks to follow Jewish law
       (halacha), which prohibits speaking ill of
 4     or defaming the land of Israel. Thus, Dkt.48-2 ¶11 (Frankel
 5     Frankel believes, as a matter of his Decl.).
 6     religious faith, that he must support
       Israel.
 7
     135. Disavowing Israel’s right to exist
 8                                           Dkt.48-2 ¶¶38, 49
       would directly contravene Frankel’s
                                             (Frankel Decl.).
 9     Jewish faith.
10   136. Joshua Ghayoum is a junior at UCLA. Dkt.107 ¶286 (Answer).
11   137. Ghayoum is Jewish.                       Dkt.48-4 ¶3 (Ghayoum
12                                                 Decl.).
13   138. Ghayoum believes support for Israel
       is a religious obligation, and thus he Dkt.48-4 ¶¶11, 44
14
       cannot in good conscience forswear (Ghayoum Decl.).
15     Israel and its right to exist.
16   139. Eden Shemuelian attended UCLA as
17     an undergraduate and is a third-year Dkt.107 ¶332 (Answer).
       student at UCLA School of Law.
18
19   140. Shemuelian is Jewish.                    Dkt.48-8 ¶4 (Shemuelian
                                                   Decl.).
20
     141. For     Shemuelian,   Judaism     is
21     synonymous with supporting Israel, and Dkt.48-8 ¶11 (Shemuelian
22     being a faithful Jew means supporting Decl.).
23     Israel’s right to exist.

24   142. As a matter of her Jewish faith,
                                             Dkt.48-8 ¶¶111, 120
       Shemuelian cannot disavow her beliefs
25                                           (Shemuelian Decl.).
       about Israel.
26
27
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 1   143. Dr. Kamran Shamsa is currently an
                                             Dkt.107 ¶404 (Answer).
       Associate Clinical Professor at UCLA.
 2
 3   144. Since 2011, Shamsa has been a
       member of the UCLA faculty in the
 4     David Geffen School of Medicine and the
 5     Department of Medicine/Division of
 6     Cardiology. Prior to joining the faculty,
       Shamsa completed an internship in Dkt.107 ¶¶404-05
 7     Medicine/Pediatrics in 2005, a residency (Answer).
 8     in Internal Medicine/Pediatrics in 2008,
 9     and     a    fellowship     in     Adult
       Cardiovascular Disease in 2011, all at
10
       the David Geffen UCLA School of
11     Medicine.
12   145. Shamsa received a Bachelor of
13     Science in Physiological Science from Dkt.107 ¶406 (Answer).
       UCLA in 1998.
14
     146. Shamsa is an observant Jew, and his
15
       Jewish faith and identity are at the core Suppl. Shamsa Decl. ¶2.
16     of who he is.
17   147. As a matter of his Jewish faith,
18     Shamsa believes that Israel has a right
       to exist, that it is the homeland of the Suppl. Shamsa Decl. ¶8.
19
       Jewish people, and that he must support
20     Israel as a homeland for Jews.
21   148. Shamsa’s Jewish faith does not allow
22     him to disclaim Israel or its right to      Suppl. Shamsa Decl. ¶8.
23     exist.

24   149. “Jewish support of a nation-state in
       their historic homeland of Israel … is 3d Rassbach Decl. Ex. 1 at
25     integral to religious belief and 81 (UCLA Antisemitism
26     identification among a large majority of Task Force Report).
27     Jews.”

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 1      II. CONCLUSIONS OF LAW
 2      Legal Standards
 3      1. Summary judgment is warranted where there is no genuine dispute
 4   of material fact and the moving party is entitled to judgment as a matter
 5   of law. Fed. R. Civ. P. 56(a).
 6      2. A fact is only material when, under relevant law, the resolution of
 7   that fact affects the outcome of the case; a dispute is genuine only “if the
 8   evidence is such that a reasonable jury could return a verdict for the
 9   nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
10   (1986).
11      3. Once the moving party satisfies its burden, the nonmoving party
12   cannot simply rest on the pleadings or assert that a “metaphysical doubt”
13   about a material factual issue precludes summary judgment. Matsushita
14   Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).
15      4. Rather, “[t]he nonmoving party must come forward with ‘specific
16   facts showing that there is a genuine [dispute] for trial.’” Id. at 587
17   (emphasis omitted).
18      5. The standard for a permanent injunction is “essentially the same”
19   as for a preliminary injunction, except that Plaintiffs must show actual
20   success on the merits. Amoco Prod. Co. v. Village of Gambell, 480 U.S.
21   531, 546 n.12 (1987); Flexible Lifeline Sys., Inc. v. Precision Lift, Inc., 654
22   F.3d 989, 996 (9th Cir. 2011).
23      6. To obtain a permanent injunction against the government, a
24   plaintiff must “show 1) actual success on the merits, 2) the inadequacy of
25   legal remedies, irreparable injury, and 3) that the injunction was
26   warranted by a balance of the equities.” Walters v. Reno, 145 F.3d 1032,
27   1048 (9th Cir. 1998).
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 1      7. There is no heightened standard for granting a mandatory
 2   permanent injunction. Edmo v. Corizon, Inc., 935 F.3d 757, 784 n.13 (9th
 3   Cir. 2019).
 4      The Free Exercise Clause
 5      8. Under the Free Exercise Clause, “laws that burden religious
 6   exercise must be both neutral and generally applicable.” Fellowship of
 7   Christian Athletes v. San Jose Unified Sch. Dist. Bd. of Educ., 82 F.4th
 8   664, 685 (9th Cir. 2023) (en banc) (“FCA”). If they are not, they are subject
 9   to strict scrutiny. Id.
10      9. First, a law is not neutral or generally applicable if it targets
11   religious observers based on their religious status or religious exercise.
12   Trinity Lutheran Church of Columbia, Inc. v. Comer, 582 U.S. 449, 458
13   (2017); Carson v. Makin, 596 U.S. 767, 787 (2022).
14      10. Second, laws that “treat any comparable secular activity more
15   favorably than religious exercise” are not neutral or generally applicable.
16   Tandon v. Newsom, 593 U.S. 61, 62 (2021).
17      11. Third, “a purportedly neutral ‘generally applicable’ policy may not
18   have ‘a mechanism for individualized exemptions.’” FCA, 82 F.4th at 686
19   (quoting Fulton v. City of Philadelphia, 593 U.S. 522, 533 (2021)). That
20   means “the mere existence of a discretionary mechanism to grant
21   exemptions can be sufficient to render a policy not generally applicable,
22   regardless of the actual exercise.” Id. at 687-88.
23      12. Plaintiffs’ exclusion from resources and facilities in the heart of
24   UCLA’s campus because of their religious beliefs burdened their religious
25   exercise by denying them an equal share of those resources and facilities.
26   See Trinity Lutheran, 582 U.S. at 458; Carson, 596 U.S. at 780; Loffman
27   v. California Dep’t of Educ., 119 F.4th 1147, 1166-67 (9th Cir. 2024).
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 1     13. Defendants’ actions violated the Free Exercise Clause in at least
 2   three ways.
 3     14. First, as this Court already concluded, Defendants violated this
 4   principle when it made its campus accessible to others even as it knew it
 5   was inaccessible to Jews who could not forswear Israel. In other words,
 6   Defendants knowingly facilitated the “exclu[sion of] religious observers
 7   from otherwise available public benefits” and “den[ied] the benefit based
 8   on a recipient’s religious exercise,” thereby “violat[ing] the Free Exercise
 9   Clause.” Carson, 596 U.S. at 778, 785.
10     15. Second, due to Defendants’ actions, Plaintiffs could not fully access
11   UCLA’s educational benefits and facilities like everyone else unless they
12   forwent these religious exercises. Trinity Lutheran, 582 U.S. at 463; cf.
13   Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263, 270 (1993) (“A
14   tax on wearing yarmulkes is a tax on Jews.”). By depriving those who
15   engage in religious exercise of access to the same educational facilities
16   and benefits to which other students and faculty retained full access,
17   UCLA violated the Tandon principle. See Tandon, 593 U.S. at 62; FCA,
18   82 F.4th at 694 (government cannot “treat comparable secular groups
19   more favorably”); see also Bacon v. Woodward, 104 F.4th 744, 751-52 (9th
20   Cir. 2024).
21     16. Third, Defendants’ policies contained numerous discretionary
22   mechanisms and were not uniformly applied, meaning its actions were
23   not generally applicable. While acting under the discretionary Robinson-
24   Edley policy, Defendants repeatedly made the decision not to enforce
25   various policies prohibiting the encampment. Instead, UCLA adopted an
26   ad-hoc policy of providing access and benefits to some students and
27   faculty while denying those same benefits to Jewish students and faculty.
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 1   These discretionary decisions render those policies not generally
 2   applicable, as this sort of “case-by-case analysis is antithetical to a
 3   generally applicable policy.” FCA, 82 F.4th at 688.
 4      17. Defendants’ actions are thus subject to strict scrutiny, which they
 5   fail.
 6      18. To satisfy strict scrutiny, Defendants must show that UCLA’s
 7   policies and practices advance “interests of the highest order” and that
 8   they are “narrowly tailored” to achieve that interest. Church of Lukumi
 9   Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 546 (1993). Targeting
10   “religious conduct for distinctive treatment … will survive strict scrutiny
11   only in rare cases.” Carson, 596 U.S. at 780-81. “Put another way, so long
12   as the government can achieve its interests in a manner that does not
13   burden religion, it must do so.” Fulton, 593 U.S. at 541.
14      19. It is not enough for Defendants to articulate their interest at “a
15   high level of generality.” Id. at 541. Instead, they must show that their
16   interest is compelling as to “the particular claimant whose sincere
17   exercise of religion is being substantially burdened” and that the
18   challenged actions and policies actually further that interest. Holt v.
19   Hobbs, 574 U.S. 352, 363 (2015).
20      20. Here, Defendants have asserted the interest of promoting public
21   safety and security. But they haven’t demonstrated how this generalized
22   interest justifies allowing and facilitating the exclusion of these Plaintiffs
23   from parts of campus. Nor have they shown that their actions actually
24   furthered public safety; the evidence is to the contrary, including UCLA’s
25   acknowledgment that the encampment gave rise to “instances of
26   violence” that left “[UCLA’s] Jewish students[ ] in a state of anxiety and
27   fear.” Dkt 48-23 at 60 (Shemuelian Ex. 15).
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 1     21. Nor were Defendants’ policies and actions the “least restrictive
 2   means” to achieve public safety. Bacon, 104 F.4th at 752. Disbanding the
 3   encampment at the outset would have prevented subsequent violence
 4   and allowed Plaintiffs equal access to campus. Alternatively, rather than
 5   deploying its security to limit access to the encampment, UCLA could
 6   have deployed security to ensure safe passage through the encampment
 7   for Jewish students and faculty. This would have prevented violence
 8   while ensuring equal access to campus.
 9     Remaining Injunction Factors
10     22. To obtain a permanent injunction, Plaintiffs must show that they
11   will suffer irreparable harm without injunctive relief, that the balance of
12   equities tip in their favor, and that an injunction is in the public interest.
13   Walters, 145 F.3d at 1048. All three remaining factors are satisfied here.
14     23. “It is axiomatic that the loss of First Amendment freedoms, for
15   even minimal periods of time, unquestionably constitutes irreparable
16   injury.” FCA, 82 F.4th at 694 (cleaned up).
17     24. When “the party opposing injunctive relief is a government entity,
18   the third and fourth factors … ‘merge.’” Id. at 695 (quoting Nken v.
19   Holder, 556 U.S. 418, 435 (2009)).
20     25. Here, both factors clearly favor granting a permanent injunction.
21   “[I]t is always in the public interest to prevent the violation of a party’s
22   constitutional rights,” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir.
23   2012), and Defendants “cannot reasonably assert that [they are] harmed
24   in any legally cognizable sense by being enjoined from constitutional
25   violations.” Baird v. Bonta, 81 F.4th 1036, 1042 (9th Cir. 2023); see also
26   Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013) (government
27
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 1   “cannot suffer harm from an injunction that merely ends an unlawful
 2   practice”).
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 1                            Dated: February 28, 2025
 2
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